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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative                   CASE NO.: 9:18-cv-80176-BB
   of the Estate of David Kleiman, and W&K INFO
   DEFENSE RESEARCH, LLC

           Plaintiffs,

   v.

   CRAIG WRIGHT

           Defendant.



        REQUEST FOR ADVISORY VERDICT QUESTION ON NUMBER OF BITCOIN

          Plaintiffs Ira Kleiman as personal representative of the Estate of David Kleiman and W&K

  Info Defense Research, LLC (“Plaintiffs”) respectfully request that the Court submit to the jury an

  advisory verdict question on the number of bitcoins, if any, it believes belong to Plaintiffs. An

  updated version of Plaintiffs’ proposed verdict form is attached as Exhibit A, with the addition of

  a single advisory question: “If you found for Plaintiff(s) on some or all of the claims above, what

  number of bitcoin do you find belong to the Estate of David Kleiman and/or W&K Info Defense

  Research, LLC?”

          As the Court knows, Plaintiffs have several claims seeking equitable remedies including

  constructive trust and permanent injunction that should lead to the recovery of bitcoins and

  intellectual property. It is appropriate for the Court to ask the jury for an advisory verdict. Fed. R.

  Civ. P. 39(c)(1). The number of bitcoin that should belong to Plaintiffs is intertwined with the

  issues that the jury will decide with respect to damages, and an advisory verdict on the number of

  bitcoin may assist the Court in evaluating the equitable remedies at issue in this case. See, e.g.,

  Thermo-Stitch, Inc. v. Chemi-Cord Processing Corp., 294 F.2d 486, 490 (5th Cir. 1961) (“Under

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  the flexible procedures of the Federal Rules, a jury determines issues pertinent to an equitable

  cause without interruption or prejudice to the proceeding; the court decides whether equitable relief

  is called for on the basis of the jury’s findings of fact.”); Hallmark Ins. Co. v. Maxum Cas. Ins.

  Co., 2017 WL 3723706, at *5 (M.D. Fla. May 25, 2017) (“even when a claim is purely equitable,

  [Fed. R. Civ. P.] 39(c) allows the Court to submit issues factual issues to an advisory jury”); Abbott

  Point of Care, Inc. v. Epocal, Inc., 868 F. Supp. 2d 1310, 1318 (N.D. Ala. 2012) (determining

  equitable defenses closely related to legal defenses would “be presented to the jury for an advisory

  verdict”); 27A Am. Jur. 2d Equity § 204 (“In a plaintiff’s action in equity seeking equitable and

  legal relief, a court may impanel a jury to consider legal claims while reserving the remaining

  issues for itself, with the jury serving only in an advisory role, such that its findings are not binding

  on the court.”).

                                                      Respectfully submitted,
  Dated: November 20, 2021
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                                                Counsel to Plaintiffs Ira Kleiman as
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                                                Research, LLC


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2021 a true and correct copy of the foregoing

  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    Velvel Freedman
                                                    Velvel Freedman




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